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                                                                     U.S. DISTRICT COURT – N.D. OF N.Y.

                                                                              FILED
                     UNITED STATES DISTRICT COURT

                             Northern District of New York               Mar 12 - 2024
                                  6th Judicial Division
                                                                          John M. Domurad, Clerk


_______________________________________
                                             )
JANE DOE, JOHN DOE,                          )
JOHN DOE, JANE DOE                           )            Case No.3:24-cv-274 (MAD/ML)
                                             )
                     Plaintiffs              )
                                             )
         -against-                           )
                                             )      MOTION TO SERVE
                                             )      DEFENDANT
                                             )      VIA EMAIL, MAIL TO
                                             )      PO BOX ADDRESS,
                                             )      AND ATTORNEY
                                       )
JONATHAN REES aka GREG ELLIS           )
aka JOHNATHAN REES aka JONNY REES      )
aka JACOB LORENZO                      )
                                       )
                    Defendant           )
______________________________________ )



Plaintiffs are filing a motion to the Court respectfully requesting to serve
Defendant JONATHAN REES aka GREG ELLIS Summons, Complaint,
Motion For Leave For Plaintiffs to Appear Anonymously, Proposed
Order, Declaration of Jane Doe, Judicial Case Assignment Form
(attached in General Order), Notice and Consent Form to Proceed
Before a US Magistrate (attached in General Order), and Civil Cover
Sheet:
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via Mail to UPS Store: Jonathan rees aka Greg Ellis, PMB 101, 1770
S.Randall Road, Suite A, Geneva IL. 60134-4646

via Email: greg@therespondent.com; greg@monkeytoes.me;
reesispositive@gmail.com; jonny@reesispositive.com;
thepetitioner@proton.me; reesjonny@icloud.com; gregellistv@mac.com


via Attorney’s on record: Chris Brown, Esq. Chris Brown Law, 105
Rano Blvd. Vestal, New York, 13850 Email: chris@chrisbrownlaw.com
and Richard Miller III, Esq. Attorney and Counselor at Law, 2304
North Street, Endwell, New York, 13760 Email: rhm2law@gmail.com


Both Chris Brown, Esq. and Richard Miller III, Esq. are representing
Defendant in Broome Family Court: Plaintiff vs. Rees action filed by
Plaintiff is active requesting an Order of Protection for Plaintiffs.


All appearances so far in Broome Family Court have been virtual via
Teams. The trial in-person will be held on April 17th 2024 at 1.15PM,
passed the deadline for Affidavit of Service for documents to be served
on Defendant and filed with the Court. Defendant did not attend the last
scheduled virtual appearance via Teams in February 2024 and may not
attend the in-person trial in April 2024 either.


Defendant asked the Broome Family Court for a Confidential Order
protecting his new address outside of New York since he sold his house
680 NY-220 Town of Smithville, NY 13801 in December 2023, so
ordered by Honorable Judge Young with Plaintiff ordered not to locate
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Defendant’s address, Exhibit 1. Plaintiff is appealing. In the meantime,
Plaintiff is abiding by the Court Order, however, Defendant still needs to
be served with Federal Court Documents and why Plaintiff is requesting
permission to serve Defendant via alternative methods: his attorney’s,
mail, and email. Rio Props., Inc. v. Rio Int'l Interlink, 284 F.3d 1007,
1017 (9th Cir. 2002).




                                                                JANE DOE:

                                             _______________________
                                                           Pro se Plaintiff
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                             Exhibit 1
                Con dential Order for Jonathan Rees aka
               Greg Ellis ordered by Judge Young, Broome
                              Family Court
fi
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